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                        UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA
                         Criminal No.: 21-cr-108 (PAM/TNL) (3)



UNITED STATES OF AMERICA,              )
                                       )
                            Plaintiff, )
vs.                                    )      DEFENDANT’S AMENDED MEET AND
                                       )             CONFER NOTICE
J ALEXANDER KUENG,                     )
                                       )
                            Defendant. )
                                       )
                                       )




        Thomas C. Plunkett, as counsel of record for defendant, J ALEXANDER

 KUENG, hereby certifies that, as required by Local Rule of the United States District

 Court for the District of Minnesota 12.1(b), he has conferred with opposing counsel,

 The Assistant United States Attorney on August 2, 2017, regarding defendant’s

 pretrial motions. As a result of this discussion, the issues were clarified and

 narrowed.

        There are NO issues that remain to be resolved that require an evidentiary

 hearing. There are issues that remain to be resolved that DO NOT require an

 evidentiary hearing. Those issues are limited to time frames for disclosure of

 information, severance of Mr. Chauvin from Mr. Kueng’s case and striking

 paragraph 3 from the indictment as surplusage.
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        As to timing of disclosure the Government agrees to abide by any order the

 Court may issue. As to severance the Government opposes the motion for severance,

 but the parties agree that despite this opposition, a decision on severance is pre-

 mature and the parties jointly asks that this motion be reserved until a point in the

 future when information relevant to severance of Mr. Chauvin becomes more

 developed. As to striking surplusage, the Government opposes.

        The Government has also agreed to continue to provide all information as it

 becomes available and to comply with any pre-trial order of the court regarding

 disclosure of impeachment, Jencks and other trial information.




                                             Respectfully submitted,

Dated: August 4, 2021                        /s/ Thomas C. Plunkett
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